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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                           Chapter 11

YELLOW CORPORATION, et al.,                      Case No. 23-11069 (CTG)
                                                 (Jointly Administered)
                      Debtors.
                                                 Related to Docket No. ______

 ORDER GRANTING MOTION OF TRANE TECHNOLOGIES COMPANY, LLC FOR
                 RELIEF FROM THE AUTOMATIC STAY
         TO THE EXTENT OF AVAILABLE INSURANCE PROCEEDS

         Upon consideration of the Motion of Trane Technologies Company, LLC (“Movant”) for

Relief from the Automatic Stay to the Extent of Available Insurance Proceeds (the “Motion”), it

is hereby ORDERED that:

         1.     The Motion is Granted.

         2.     Movant is granted relief from the Automatic Stay for cause shown and is permitted

to prosecute the Claims against the Debtors and any other individuals or entities, including

subsequent appeals.

         3.     Movant is entitled to liquidate and satisfy any judgment, settlement, or other

resolution of the Claims, if any, from applicable insurance coverage available to the Debtors.

         4.     To the extent that insurance proceeds are unavailable, or insufficient, Movant will

return to this Court for disposition of its Claims.

         5.     Relief from the automatic stay shall be effective immediately upon entry of this

Order and the 14 day stay provided in Bankruptcy Rule 4001(a)(3) shall not apply.
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      6.       This Court shall retain jurisdiction over any and all issues arising among or related

to the implementation and interpretation of this Order.




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